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6                              IN THE UNITED STATES DISTRICT COURT
7                           FOR THE EASTERN DISTRICT OF CALIFORNIA
8     UNITED STATES OF AMERICA,                   )      Case №: 1:24-CR-00033-NODJ-BAM
                                                  )
9                     Plaintiff,                  )                    ORDER
                                                  )               APPOINTING COUNSEL
10            vs.                                 )
                                                  )
11    EDUARDO MENDOZA-SANCHEZ,                    )
                                                  )
12                    Defendant.                  )
                                                  )
13
             The above named Defendant has, under oath, sworn or affirmed as to his financial
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15    inability to employ counsel or has otherwise satisfied this Court that he is financially unable to

16    obtain counsel and wishes counsel be appointed to represent him. Therefore, in the interests of

17    justice and pursuant to the U.S. CONST., amend VI and 18 U.S.C. § 3006A,
18
             IT IS HEREBY ORDERED that Roger D. Wilson be appointed to represent the above
19
      defendant in this case effective nunc pro tunc to March 12, 2024.
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             This appointment shall remain in effect until further order of this court, or until the
21
22    pending criminal matter and any direct appeal is resolved, whichever is first.

23
24    IT IS SO ORDERED.
25
         Dated:     March 19, 2024                              /s/ Barbara A. McAuliffe               _
26                                                       UNITED STATES MAGISTRATE JUDGE
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